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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 LEVON HARUTYUNYAN,                                      Case No.: 2:21-cv-00053-APG-VCF

 4          Petitioner,                                 Order Directing Filing of Application to
                                                       Proceed in Forma Pauperis or Payment of
 5 v.                                                                 Filing Fee

 6 U.S. ATTORNEY GENERAL,                                              [ECF No. 1]

 7          Respondent.

 8         Petitioner Levon Harutyunyan1 has submitted a petition for a writ of habeas corpus under

 9 28 U.S.C. § 2241. He has not filed an application to proceed in forma pauperis, nor has he paid

10 the filing fee. He will need to correct this omission before the action can proceed further.

11         IT THEREFORE IS ORDERED that petitioner must file an application for leave to

12 proceed in forma pauperis, accompanied by a signed financial certificate and a statement of his

13 inmate account. The clerk of the court is directed to send petitioner a blank application form for

14 incarcerated litigants. In the alternative, petitioner must make the necessary arrangements to pay

15 the filing fee of five dollars ($5.00), accompanied by a copy of this order. Petitioner will have

16 45 days from the date that this order is entered to comply. Failure to comply will result in the

17 dismissal of this action.

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22   1
    The docket gives petitioner's name as "Harutyunyan Levon." However, a comma in both the
   caption of the petition and in an Immigration Court letter attached to the petition show that
23
   petitioner has put his last name in front of his first name. I will direct the clerk to correct
   petitioner's name.
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 1        IT FURTHER IS ORDERED that the clerk of the court change the petitioner's first name

 2 to "Levon" and his last name to "Harutyunyan."

 3        DATED: January 12, 2021

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                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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